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        ,
        IAIo lastName
        ,!
              Albert
              Alkire
                             Client Sort by Expo'sure (Comm'unity, Family Member, Subcontractor, Worker) CARD patients only
                                                                                                                FirstName
                                                                                                               Lois
                                                                                                               Kenneth
                                                                                                                                     DiaaDate Birth
                                                                                                                                        1/25/2002
                                                                                                                                                                 EXD Cat
                                                                                                                                                       5/11193 o Community 295
                                                                                                                                         1/4/2001 1118/193 1 Community
        A.             Anderson                                                                                Ernest                   1128/2002      3/2/195 9 Community
                  A . Andrews                                                                                  Cornelia               12127/2005 6/11/1954 Community
             .A Applegate                                                                                      Duane                   2114/2001 .' 3124/193 9 Community
                 A. Arlt                                                                                       Lloyd                   8/11/2000 7/1'9/192 6 Community
                 A Arlt                                                                                        Marjorie                  6/412001 7/20/192 6 Community
                 A . Atchlev.                                                                                  Edward                    4/5/2001 1/231193 4 Community
                 A    Baeth                                                                                   Shirley                  8/12/2001 6/14/193 7 Community
                 D Bailor - PR Judy Bailor                                                                    Claude                   8/22/2005 5/31/196 o Community
                A     Baker                                                                                   Benjamin .'              1/18/2001      4/7/1921 Community
                 0 Ball - PR Keith Ball                                                                       Irving                  2/24/1999 6/18/1916 Community
               A      Benefield                                                                               David.                  4/10/2001 ,7/31/1939 Community
               A      Benefield      ..                                                                       Donald                    1/8/2001 4/16/1941 Community .
               0      Benefield - PR 'Donald Benefield                                                        Barbara                 7/26/2001       5/1/1944 Community
               A      Bergroos .                                                                             'Raymond               . 1/23/2006 7/21/1943 Community
               A     Billadeau                                                                               Elmer                    4/18/2001 4/25/1935 Community
              A      Bitterman                                                                               Alan                  . 4/23/2001 . 7/31/1947 Community
         ,A Bitterman ..                                                                                     Charlotte                4/23/20Q1 . 7/28/1949 Community
              A      Blinco                                                                                  Thomas                  4/18/2001 . 11/18/1946 Community
             A Bock                                                                                          Fred                      7/1/2002 7/25/1940 Community
             A Bolles                                                                                        Frank                   5/29/2002 10/11/1 ~46 Community
             A       Bolles                                                                                . Gerald.               12/23/1999 4/12/1942 Community
             A       Boring.                                                                                 Ronnie                . 6/28/2001 12/12/1942 Community
             A       Bowker                                                                                  Michael.           . 10/24/2001 6/1611956 Community . . .
       ...,
             A      Bowker                        .                                                         Rose                . 12/17/2003 8/25/1955 Community
                    Bradshaw·                                                                               Ronald'                  5/11/2004 3/11/1936 Community
              I'    Brakke                                                                                  Leonard·                 2/19/2002       5/9/1948 Community
           11 . Breeding                                                                                    Wanda                     6/6/2006 10/7/1937 Community·
            A       Brewer                                                                                  Tina                  12/17/2007 1/16/19.58 Community
            A       Brothers                                                                                ~ester                10/30/2006 10/22/1964 Community                        ..
            D. Brothers - PR LestEtr E. Brothers·                                                           Lester                  9/27/2004 6/21/1936 Community
            A       Burley                                                                                  Alan                      4/412005      5/6/1948 Community
            A .' Blirns                                                                                     Dan                     10/5/2000       21611946 Community
            A      Sums                                                                                     Michael                 3110/2003 2/12/1955 Community
. . E) ... Burrese - PR ??              -. __ .....
                                              '- •••   " - ' ¥ " ' • • • • - _ . - '••           ....
                                                                                         _ •••.•.• _ . -
                                                                                                            Eunice·--.---- .. - . . 217/2000.       5/9/19t9 Community .            -_.-. - ..
,"-.'
           A       Burriss                                                                                  Carol                 11/11/2'002       314/1939 Community
.....-                                                                    -..... .......... - ""      . ..
          A Busby                                                                                           Dan                     11/8/2001 7/10/1948 Communitv·
          A        Cannon                                                                                  Kelly                   7/14/2000 10/29/1966 Community
          A        Carl.son                                                                                Maynard                 9/18/2000 . 8/15/1'917 Community.
         A         Carrier                                                                                 Bruce                     8/6/2000 10/30/1931 Community
         A         Chapel                                                                                  Delbert                 1/27/2004 7/24/1937 Community
        A . Collier                                                                                        Car/etta              . 9/14/2005       8/2/1941 Community .
         D Collier - PR Carletta Cofller                                                                   Paul                 10/30/2000 9/22/1935 Community
        D· Collier - PR Glynda Olson                                                                       JoAnn                11/25/2003 6/26/1934 Community
        D Conn - PR Robert Conn                                                                        . Cornelia                                11/20/1908 Community
       A Coon                                                                                              Dorothy                 11/812000 2/21/1938 Community
       A          Copeland                                                                                 Kimm                   3/27/2007        3/1/1957 Community
      A Crabtree                                                                                          Dean                    1019/2000 2/12/1936 Community'
      A Crabtree                                                                                          Michael                 8/15/2005 3/26/1946 Community
      A Crabtree                                                                                         Penny                    8/15/2005 9/19/1945 Community
      A Creighton                                                                                        Elinor                   3/13/2001 8/17/1938 Community
      A           Creighton                                                                              Thomas                     2/812001 . 10/30/1949 Community
     l            Crispin                                                                               Arlene                      5/7/2001       6/7/1951 Community
,,r;. .C ummings                                                                                         Larry                    3/13i2001 3/10/1945 Community
     A            Daniels                                                                               Joseph                    3/16/2005 1/21/1944 Community
     A' Davenport                                                                                       Craig                    3/27/2006 3/11/1960 Community
                                                                                                                                                                                 EXHIBIT
                                                                                                                                                              5/28/2008 . ~.~ .
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     'A      Dean                                                                              Gerald                    6/6/2001 1/22/1934 Community
                                                                                                                                                       -
    ~iA-     DeShazer                                                                          Daniel.                  4/18/2001 3/14/1935 Community
      ,fa. DeShazer                                                                            Sandra                   6/10/2002 3/17/194 8 Community
        D DeShazer- PR Sa~dra DeShazer                                                        Gerald                   8/29/2001 1/30/1941 Community
       A Dickerman-Auge                                                                       Lois                       8/1/2001 10/23/1945 Community
       A Douglas                                                                              Bill                   . 1/18/2005      .8/6/1939. Comml,lnity
       A . Drury                                                                              Bruce'                 11/26/2001 .1/25/1962 Community
       A Drury                                                                                Delano                   6/2212000 8/11/1934 Community .
       A Dunwoody                                                                             David                 . 6/20/2000       9/1/193 5 Community
      A Dusek                                                                                 Darrel                 11/26/2001 1/18/1949 Community
      A . Dutton                                                                              Merritt                  9/14/2000 4/12/1947 Community
      A Edwards                                                                               Robert                   9/27/2001 1/17/1926 Community
      D Edwards - PR Robert Edwards                                                           Georgiana               7/24/2001 12/4/1930 Community
      A Eggert                                                                                Mavis Darlen~ .           5/6/2002 6/17/1936 C9mmunity
      A Eggleston                                                                            Edward                     2/9/2005 10/17/1955 Community
     A Ellsworth'                                                                            Gifferd                  5/31/2001 10/16/1928 Community
     D' Ellsworth - PR Marilyn Ellsworth                                                     Keith                  10/15/2001 3/23/1931 Community
     A Einett                                                                                Leonard                  12/4/2000 12/26/1933 Community
     A Erickson                                                                            . Donald                   9/20/2000 .8/6/1929 Community
     A Erickson                                                                              Duane                      4/3/2001     7/811932 Community
     b Erickson - PRs Richard: & Chris Erickson                                              Rodney'               10/22/1992 . 4/26/1929 Community
     A. Evans                                                                                Fred                     3/25/2004      1m1941 Community
    A Faris                                                                                  Dennis                10/23/2001        4/3/1946 Community
    A Farmer                                                                                Arthur                     5/1/2001 12/1/1942 Community
    A Ferrell                                                                                Patricia
                                                                                                ~         - ..
                                                                                                                     9129/2005     8/13/1940 Community.
    A . Ferrell                                                                             William                  5/25/2006       ~/3/1939 Community"
    A Filopoulos.                                                                           Frank                      2/7/2002      8/5/1937 Community
 "~A      Fleming                                                                           Eldon                      4/2/2001 5/26/1936 Community
    }. Foote'                                                                               Cameron                  8/2212001 8/21/1968 Community
    A Foote                                                                                 Maxine                     9/5/2000 3/16/1930 Community·
    A . Foss                                                                                Bruce                    5/15/2001 6/13/1958 Community         '.


                                                l
  .A Foster                                                                                 William                 4/28/2004 12/911941 Community
   A Fox                                                                                    Sherry                  211412001 7/27/1948 Community
   A Freebury                                                            "
                                                                                        '. Danny·                 10/24/2001        817/1947 Community
   A French                                                                                Roger.'
                                                                                                                    3/23/2004 3/2S/1940 Community
                                            :
   A Fuchs                                                                                 Sally                    9/2212005 5/19/1961 Community .
"
   A . FUlgham'       ....     _.~.. ..... _.. .. _....     -
                                                          _._~   ~--_   .... _.. , ... :. Samuel:··· .. _.......   7/25/2001 ·10/27./1939 Community .. ......
   A Gardiner                                                                              Re'id                      3/8/2001 10/2f1953 Commlllnity
                                                      ... . . . . .... .....
   A . Garrison                                                      ,
                                                                                          Glenn'                 12/27f2000         3/7f1956 Community
   A· Gary                                                                              . Nancy                    2/22f2006 1/15f1943 Co'mrhunitY:' .
   p Gerard - PR Tami Broden                                                              Carol.                   S/12/2000        1/7/1947 Community
   A Graves                                                                               Russell                  8/16/2001 7/24/1~31 Community
   D Greenup - PR Trina Greenup??                                                         Joyce                      9/5/2000       7/9/1944 Community
  A Groom                                                                                 Robert                     4/9/2001 1/21/1930 Community
  A Gustafson·                                                                            Kenneth                  6/22/2001 1/16f1953 Community
  A      Hacke                                                                            Margaret               10/25/2001       10/1/1939 Community
  A      Haefele                                                                          Marvin                   8/15/2005     11f21/1932   Community
  A   ,H  agen                                                                           Clinton                 10/18/2000       8/23/1927   Community
  A Hagen                                                                                Eloise                  10/19/2000 9/23/1932 Community .
  A 'Hagen                                                                               Ivan                       6/6/2001 9/30/1959 Community
  A Hale                                                                                 Douglas                  7/30/2002 8/18/1923 Community
  A Hall                                                                                 Arthur                   5/23/2001 6/21/1941 Community
 A Halvorson                                                                             Margaret                 3/26/2001 4/23/1935 Community
-A Hammer                                                                                Mary                     4/25/2001 4/26/1927 Cornmullity
 Y> Hammer - PR Mary Hammer (Betty Warner POA Mary) Peter                                                         4/25/2001 10/22/1922 Community
-~ Hammons                                                                               Darlene                  9/18/2001 9/22/1933 Community
 D Harmon - PR Leon,e Harmon                                                            Vesta                     3/28/2005 11/16/1910 Community
 A Hart                                                                                 Stuart                   8/23/2001 10/5/1952 Community
                                                                                                                                          5f28f200B
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       A       Harvey                                                         Tom                   6/16/2005 8/22/196 5 Community .
          \\ HiJI                                                             Edward                  3/512001 1211/1949 Community
         .~ Hill                                                              James                '4/1212001     '9/9/194 7 Community
          A Hill                                                             Larry                12127/2000 12/1/1952 Community
          D Hill - PR Donald Hill                                            Dayton,                10/5/2000      518/192 5 Community
          A Hindman, .                                                       Robert                 4/30/2001 6/26/1947 Community
          A Hobbs'                                                           William                3/15/2001 4/17/194 o Community
          A Hock                                                             Michael                 5/412006 . ,8/4/1965 Community
          A Hodges                                                           Donald                4118/2002     7123/192 3 Community
         A Hoe/tzer                                                          Leland'                 3/112001 8/26/194 o Community
         A Hoffman                                                           LeeRoy                3/26/2001 12124/1943 Community
         A Holter                                                         . Susan                    4/312003 1'1/13/1945 Community
        'A Howe                                                             Richard                9/20/2006 11/7/1944 Community·
         D Jacobson- PR. Lona Dianne Walker                                 Dorothy                7/11/2001 ' 7/511923 Community
         A Jamison                                                          Betty                   4/3/2006 12121/1934 Community
         A Jantz                                                            Oale                  4125/2001 10/23/1938 Community
         A Jellesed                                                         Joan                  9/12/2001 10/26/1939 Community
    'A JelJesed                                                             Raynard               9/13/2001 5/25/1939 Community
        A Johnson                                                          Clifford            . 1/31/2001 5/16/1953 Community
        A Johnson                                                        . George                 7/31/2001 ,~2811947 Community
        A Johnson                                                          Patricia                 7/512001 4/29/1950 Community
        A Johnson                                                          Raymond·               3/19/2001 12/2/1941 . Community
        A, Johnson                                                         Theodore ,.            212312004 9/27/1953 Community
       A Johnson                                                           Th!9resa               8/30/2006 1/30/1955 Community
       A Johnson,                                                       . Tony                      1/512006 4/24/1953 Community
                                                              '  -
       D Johnston - PR Valorie Johnston                                    William·              3/30/1999 10/17/1929 Community
       A Jones                                                             Loretta               10/512000 3124/1945 Community
  , "A Jones                                                               Oreon                . 1/1/1986 3/25/1928 Community·
       j) Jones - PR Loretta Jones                                         Donald              11/2712002 5113/1940 Community
     'A Judkins                                                           Charles                  5/212001      3/811940 Community
      A Judkins,                                                          James              '11/17/2000 2119/1930 Community
      A ' Jungst                                                          Lois.                  11/9/2003 4124/1926 Community
      A Keck         ..                                                   Diane                    1/111993 12124/1939 Community
      A', Keeler,                                                         Patti.                6/1212001 10/19/1942 Community
      A Kenelty                                                           Gerald                4/1.0/2001 12112/1932 Community
      D Kenelty - PR Gerald Kenelty                                       Marylin               ' 6/2/2004 5/19/1925 Community ,
-, A Kessel        '   ,.. - ..
                           '     ., . -_..    ...... _.... .. _.... _-
                                                                   "'-'- Br.uce" ,._-_" ... .,7/1.0/2001 " _8122/1938 C.ommunity..: , . .. --'" ,-
     A Kessel                                                            Duane .    ,
                                                                                               4/23/2001 3/24/1965 Community
     A Knauss                                                            Donald                3/,29/2001       7/211.940 Community
    A Kowalski                                                           Edith                 511212005        7/5/1938 Community. - .....
    A Kujawa                                                             Loren                 9/27/2001 1/12/1927 Community
    D Kujawa - PR Loren Kujawa.                                        . GynelJ                  ,1/9/2002 9117/1926 Community
    A      Kuntz                                                         Christ   Ray          6/13/2001        7/511939 Community
    A      Lamey                                                        Alan                   9/11/2000      6/25/1937    Community
    A      Landon                                                       Donna                  1/15/2007      1/15/1947    Community
    A Larson                                                            Jeffrey              10/14/2003 12/22/1964 Community
    A Larson            ,                                               Joan                   1115/2001 8/11/1938 Community
    D Larson - PR Joyce Larson                                          Carl                  2/16/1998 11/14/1936 Community
    A Lethrud                                                           Steve                    1/5/2005 .7/13/1942 Community
   A .Lien                                                              Darryl                6/11/2001        2/1/1947 Community
   A ., Lindsay                                                         Edna                    .4/4/2001 10/13/1933 Community
   A Lindsay                                                            LaMar              .11/14/1997 912611930 Community
   D Lundstrom - PR JUdy Lundstrom                                      Carl                  7/26/2001 9/10/1927 Community
'c A      Lykins                                                       Leroy                  7/23/2001 3/15/1937 Community
   ~ Mack                                                              LaDonna              12/21/2000 11/30/1933 Community.
"'A Maclay                                                             M. Scott               6121/2001 1/30/1958 Community
   A Managhan                                                          Michael                8/30/2001 11/30/1949 Community
·A Martin                                                              Charles               612312003         4/8/1938 Community
                                                                                                                              5/28/2008
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                                     Client Sort by Exposure (Community, Family Member, SUbcontractor, Worker) CARD patients only'
        .. IA       Martin                                                                        Eleanora                           6/5/2007 3/14/1942 Community
        .""\\       Martineau                                                                    John                              3/11/20023/21/1931 Community
             A Masters                                                                           George                          12/31/2001 1.1/5/1944 Community
              A Master~'                                                                         Ron                              4/13/2001 .8/28/1951 Community
             A . Maxwell                                                                      . Betty                               5/1/2001 12/2/1929 Community
             A· Maycumber                                                                        Eileen                           4/1212004 9/10/1924 Community
             A Maycumber                                                                       . Frank                              6/4/2001 8/10/1951 Community
             A McKinney                                                                          Lynda                              8/7/2006 4/24/1936 Community
             A McMillan                                                                        .David                             9/21/2001 9/24/1956 Community
             A McNair                                                                  -      . Clysta                           2/16/2005 10/17/1953 Community
             A' Meyer·                                                                           Roland                           11/6/2006 8/2911940 Community
            A Michels                                                                           Gerald                           8/28/2001 . 2/3/1941 Community
            A Miller'                                                                           Thomas                           4/26/2001 3/28/1941 Community
            A Miller                                                                            William                          211212001               3/7/1940 Community
         .A' Moen                                                                               Renee                            1/17/2002 7/28/1949 Communi:v .
            A Moles                                                                             Leland .'                        3/28/2000 12/22/1940 Community
            D Moles - pR Steven Moles                                                           Edith                            5/2212001 4/25/1922 Community
           D Moles, S.r - PR Steven Moles                                                    - Lester                           6/14/2001 7/31/1915 Community
          A Mongan                                                                             Larry                         . 7/14/20055/15/1943 Community
          A . Mongan                                                                           Michael                          9118/2006 5/13/1951 Community .
       . A Montaomery                                                                          Mickey                         11/18/2003 10/19/1950 Community
          A Montgomerv                                                                    .. Yolanda.                           7/27/2001               1/511948 Commuhity
         A . Morey                                                                            J i m ' 2119/2001 6/28/1932 Community
         A Moss                                                                                Karen                          10111/2001                3/7/1959 Community
         A Neils                                                                              John                              7/19/2.001 12121/1946 Community
        A Neils                                                                               Rob                              2/1 ~/2001 2/22/1945 Community
        A Nelson                                                                            . Neil                           11/26/2002 . 7/5/1956 Community
                Nichols                                                                       Shirley                          4/19/2007 3/28/1934 Community
                Nielsen'                                                                      Katherine                        3/14/2007               4/4/1950 Community
                Obermayer                                        . .                          Bill •                             9/4/2003 . 5/9/-1947 Community
       A O'Bleness                                                                            Thomas.                          7/18/2001 3/23/1956 Community..
       A O'Brien                                                                              Kelly'                         . 3129/2004 12/18/1963 Community.
       A O'Brien·                                                                             L o u i e . 3/6/2002 .. 1/3011932 Community
       A Orr.                                                                                 Dru                           12/18/20014/12/1970 Community·
       A Orsborn                                                                             Elvina                           7/19/2001 8/30/1937 Community
      A Osteen                                                                               Narven                         . 3126/2001 1/21/1932 Community
... A···/PaRseau                          .. ---        ---...      .._ .._         _ __. Wilbert.. _.                          4/212002              9L6./193SGomrnYrUty _.. _.. : .                                  .. __ .
      A Peck                                                                                 Jon'                             9/13/2006' 9/15/1928 Community
      A " Perkins                                                                          . Richard                        10/25/2006 12/31/1935 Community                                                       "    ,...   :.
_... hA,:..·-+=P:-=e':';-rle:::':'y~------'----""""''''''''''-''''''' .~ .. -='"'=----+=E::.::dw~··-a:::l':;'d·---t-:.:~6::;':;/4:7./2~0-=07-1 ~=;:3/7.::3-7;/1~9-=347. r-C=-=o":':m':':':m":':u'-'-ity
                                                                                                                                                                                                    n'2'-'---'---l .
     A Post                                                                                               Dorothy                         3/17/2005           .8/28/1932 Community
     D . Post· PR'Dorothy Post                                                                            Ernest                           4/7/2004           3/12/1931 Community .
     A Powell                                                                                             Wayne                            217/2002             2/6/1946 Community
     A Powell                                                                                             William                        1112120009/27/1949 Community .
     D Powell - PR Donald Powell, Jr.                                                                     Donald                         1/26/2005 10/29/1943 CommunitY
   . A. Price'                                                                                            Judith                         6/30/2004 11/17/1938 Community
  . A Price                                                                                              .Paul                            1/3/2001 3/16/1940 Community
     A Ramel                                                                                             Ray                           11/28/2000     3/6/1928 Community
     A Rebo                                                                                              Todd                           10/3/2005 1/15/1973 Community
    b Reynolds, Jr - PR Randy Reynolds                                                                 . James                         12i22/1999 12/2/1925 Community
    A Riley                                                                                            . Vernon                         9/10/2001 9/16/1940 Community
    D. Riley - PR Laurie Kempter                                                                         Darlene "Toni"                 4/15/1996 11/9/1944 Community
    A Ringsbye                                                                                          ·Janice                         5/11/2004 3/26/1943 Community
    A . Robertson                                                                                        Jeffrey                       10/18/2000 6/18/1958 Commu nity
    ~   Rogit'la                                                                                         Leon                             8/2/2005 10/14/1943 Community
-- 'A Rosencrans                                                                                        James                           5/31/2001 . 9/26/1938 Community
    A RoSencrans                                                                                        Robert                          5/31/2001 9/10/1940 Community
   A Roy, Jr .                                                                                          Thomas                          5/23/2000    1/6/1938 Community
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